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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA

CENTER FOR EXCELLENCE IN
HIGHER EDUCATION, INC.,
a Delaware Corporation,
P.O. Box 575777,                                     Case No: 1:22-cv-1223
Salt Lake City, Utah 84157

                                                     MOTION TO VACATE
                                                     ARBITRATION AWARD AND
                        Movant/Plaintiff,            COMPLAINT
v.
                                                     Injunctive Relief Sought
ACCREDITATION ALLIANCE OF
CAREER SCHOOLS AND COLLEGES,                         Jury Trial Demanded
D/B/A ACCREDITING COMMISSION OF
CAREER SCHOOLS AND COLLEGES,
a Virginia Corporation,
2101 Wilson Boulevard, Suite 302
Arlington, VA 22201

Registered Agent:
CT Corporation System
4701 Cox Rd., Ste. 285
Glen Allen, VA 23060

                       Respondent/Defendant.


          MOTION TO VACATE ARBITRATION AWARD AND COMPLAINT

       Movant/Plaintiff, Center for Excellence in Higher Education (“CEHE”), by counsel,

seeks an order vacating an August 4, 2022 arbitration award (“Award,” Ex. A) entered by the

arbitrator in favor of Respondent/Defendant, Accreditation Alliance of Career Schools and

Colleges d/b/a Accrediting Commission of Career Schools and Colleges (“ACCSC”). CEHE

also brings this civil action against ACCSC seeking declaratory relief, injunctive relief, and

damages, alleging as follows:



                                            Introduction
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   1. CEHE brings this action to vacate the Award because the enforcement of that Award

would sanction ACCSC’s failure to afford CEHE due process and fundamental fairness required

under federal law. Additionally, or in the alternative, CEHE brings claims to remedy ACCSC’s

due process failures and tortious interference with CEHE’s contracts and business expectations.

Withdrawing accreditation is a death sentence for institutions of higher education. ACCSC’s

unlawful acts caused CEHE to lose access to critical Title IV funding, to lose the ability to

continue enrolling then-current and future students, and ultimately led to the closure of CEHE’s

schools.

   2. The extreme consequences of a withdrawal decision elevate ACCSC’s duty to afford due

process to CEHE. But ACCSC denied CEHE a fair opportunity to appeal the decision to

withdraw accreditation from Independence University (“IU,” an institution owned by CEHE), as

required by federal law. Instead, ACCSC manipulated its internal appeals process and arbitration

rules to shield the arbitrator from considering material evidence of bad faith and disparate

treatment. Because ACCSC imposed rules that barred the arbitrator from hearing evidence

material to CEHE’s claims, this Court must vacate the award under the Federal Arbitration Act,

9 USC 10(a)(3). Additionally, or in the alternative, this Court must remedy ACCSC’s

deprivation of CEHE’s due process rights and its knowing and deliberate acts to close CEHE by

preventing CEHE from enrolling students and accessing Title IV funding.

   3. The evidence of disparate treatment and pretext is compelling. Yet ACCSC precluded both

its own internal Appeals Panel and, later, the arbitrator from meaningfully considering whether

CEHE received the due process and fundamental fairness required by federal law. See Prof’l

Massage Training Ctr. v. Accreditation All. of Career Sch. & Colls., 781 F.3d 161, 169 (4th Cir.

2015). Prior to the withdrawal decision, ACCSC frequently acknowledged and commended



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CEHE’s efforts towards resolving the compliance issues forming the basis of the decision, and in

July 2020, it expressly found that CEHE had shown good cause to continue demonstrating the

success of those efforts. In CEHE’s next submission to ACCSC, it provided verifiable data

showing the unequivocal success of CEHE’s newly implemented initiatives. But ACCSC

nonetheless prematurely and without a rational basis revoked its good cause finding and

suddenly withdrew IU’s accreditation.

   4. The timing and nature of ACCSC’s unexplained shift in position indicated that the

decision was pretext aimed at self-preservation rather than a fair and uniform application of

ACCSC’s Standards of Accreditation (“Standards”). Indeed, publicly available information

revealed several instances in which ACCSC continued an institution’s accreditation

notwithstanding its similar, or even worse, history of compliance with the same Standards at

issue with respect to IU.

   5. Upon information and belief, ACCSC’s disparate treatment of CEHE was triggered by an

August 21, 2020 Colorado state court ruling against CEHE, which was based on marketing and

enrollment practices that ACCSC itself had contemporaneously reviewed and approved. Upon

appeal to the Colorado Court of Appeals, the decision was later determined to be erroneous and

was reversed. But at the time of the initial ruling—just one month after ACCSC’s good cause

determination—it was deeply embarrassing to ACCSC. That is because ACCSC’s own

application for continued federal recognition was up for review by the Department of Education

in a matter of mere months. In an attempt to deflect scrutiny and damaging criticism in the wake

of the Colorado ruling, ACCSC, to defend itself, precipitously and prematurely withdrew IU’s

accreditation.




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   6. Throughout both ACCSC’s internal appeals procedures and subsequent arbitration

requirements, CEHE sought to introduce evidence of ACCSC’s disparate treatment and bad faith

motivations for taking the extreme ultimate sanction against CEHE and its schools. However,

ACCSC’s Executive Director, Dr. Michale McComis, arbitrarily denied CEHE’s reasonable

request for crucial records. ACCSC’s Appeals Panel was thus denied substantive and vital facts

in considering the propriety of the withdrawal decision. When CEHE sought review of the

Appeals Panel’s decision through arbitration, ACCSC cited its self-promulgated Instructions for

Arbitration (“Instructions”), which precluded the arbitrator from considering any evidence not

before the Appeals Panel. Thus, according to ACCSC’s procedures, the unilateral decision of a

single ACCSC executive, Dr. McComis, to withhold relevant evidence was unreviewable. That

is not the law, and the Award must be vacated and remanded for consideration of the material

evidence unlawfully withheld from the arbitrator.

                                              Parties

   7. Petitioner CEHE is a tax-exempt nonprofit corporation under section 501(c)(3) of the

Internal Revenue Code. The corporation exists and operates pursuant to the laws of Delaware. Its

principal place of business is in Salt Lake City, Utah.

   8. CEHE owned four institutions of higher education: Stevens-Henager College (“SHC”),

d/b/a Independence University, CollegeAmerica Denver, CollegeAmerica Arizona, and

California College San Diego. Each institution operated multiple campuses. At the time of the

withdrawal, CEHE was only enrolling students at its online institution, IU, and was teaching out

its remaining students at the other institutions. At the time of the withdrawal decision, CEHE

enrolled almost 10,000 students and had approximately 1,500 employees.




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   9. Respondent ACCSC is a Virginia corporation with its principal place of business in

Arlington, Virginia. ACCSC is an accrediting agency officially recognized by the Department of

Education (“Department”), pursuant to 20 USC 1099b and 34 CFR part 602.

                                        Jurisdiction and Venue

   10. This Court has subject matter jurisdiction pursuant to 28 USC 1331, 28 USC 1332(a)(1)

and 20 USC 1099b(f).

   11. This Court has federal question jurisdiction under 28 USC 1331 because the matters

presented in this Petition to Vacate and civil action arise under the Constitution, laws, or treaties

of the United States and presents questions about whether ACCSC violated CEHE’s federal due

process rights in the accreditation process.

   12. This Court has diversity jurisdiction under 28 USC 1332(a)(1) because CEHE and

ACCSC are citizens of different states. CEHE is incorporated in Delaware and has its principal

place of business in Utah. ACCSC is incorporated and has its principal place of business in

Virginia. The amount in controversy exceeds the sum or value of $75,000, exclusive of interest

and costs.

   13. This Court has jurisdiction under 20 USC 1099b(f), which provides: “Notwithstanding

any other provision of law, any civil action brought by an institution of higher education seeking

accreditation from, or accredited by, an accrediting agency or association recognized by the

Secretary [of the Department of Education] for the purposes of this subchapter and involving the

denial, withdrawal, or termination of accreditation of the institution of higher education, shall be

brought in an appropriate United States district court.”

   14. Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2), because a substantial

part of the events or omissions giving rise to this claim occurred in this judicial district.



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                                        Factual Allegations

           a. ACCSC’s obligation under federal law to provide due process.

   15. In order to participate in federal student assistance programs authorized under Title IV of

the Higher Education Act (“HEA”), an institution must be accredited by a federally recognized

accrediting agency, like ACCSC. See 20 USC 102. The vast majority of higher education

students in the United States use Title IV funds, at least in part, to fund their education. Title IV

funds are the lifeblood of nearly every American college and university.

   16. Recognizing the quasi-governmental role accreditors fill in determining eligibility to

participate in federal programs, courts have held that accreditors are obligated under federal

common law to provide due process to the schools they accredit. Prof'l Massage., 781 F.3d at

169 (4th Cir. 2015). “They, like all other bureaucratic entities, can run off the rails.” Id.

“[A]creditors wield enormous power over institutions—life and death power, some might say—

which argues against allowing such agencies free rein to pursue personal agendas or go off on

some ideological toot.” Id. at 170.

   17. Thus, accreditors are required to adhere to administrative law principles and fundamental

notions of fairness. Id. at 180-71. Such fairness requires, among other things, that similarly

situated institutions be treated similarly by the accreditor. Med. Inst. of Minn. v. Nat’l Assoc. of

Trade & Tech. Sch., 817 F.2d 1310, 1314 (8th Cir. 1987). And when an accreditor departs from

past precedent or practices, it must provide a reasoned explanation for doing so. See FCC v. Fox

TV Stations, Inc., 556 U.S. 502, 515 (2009).

   18. In addition to these basic common-law requirements, the HEA and Department further

inform the due process accreditors must provide in the accreditation process. See 34 CFR 602.25




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(describing additional due process requirements); Bristol Univ. v. Accrediting Council for Indep.

Colls. & Schs., 691 F. App’x 737, 741 (4th Cir. 2017).

    19. For example, the Department expressly requires an accreditor to “consistently apply and

enforce [its] standards,” 34 CFR 668.18(a), and have “effective controls against the inconsistent

application of [those] standards.” 34 CFR 668.18(b)(2). The Department further specifies that

accreditation decisions must be based on published standards, rather than political agendas. 34

CFR 668.18(b)(3).

    20. The HEA also requires that institutions of higher education must submit any dispute

involving the final withdrawal of accreditation to initial arbitration prior to any other legal

actions. 20 USC 1099b(e). However, nothing in the HEA or the Department’s regulations

authorizes accreditors to limit the scope of the arbitrator’s review to preclude consideration of

evidence related to the accreditor’s compliance with federal due process requirements.

           b. ACCSC’s Appeal and Arbitration procedures fail to provide sufficient due
              process.

    21. When ACCSC withdraws an institution’s accreditation, the only avenue for appeal is

through ACCSC’s internal appeal process as detailed in Section VIII of the ACCSC Rules of

Process and Procedure (“Rules”). See Ex. B at 11-15 (Excerpts from ACCSC’s Rules of Process

and Procedure and Standards of Accreditation).1

    22. Pursuant to those procedures, an institution can appeal a withdrawal decision if it has

reason to believe that ACCSC’s decision was “arbitrary, capricious, or in substantial disregard of




1
 A full version of ACCSC’s Standards of Accreditation (which contains the Rules and ACCSC
Bylaws) is available on ACCSC’s website:
https://www.accsc.org/UploadedDocuments/1967/ACCSC-Standards-of-Accreditation-and-
Bylaws-070118.pdf

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the criteria or procedures of the Commission, or not supported by evidence in the record on

which the Commission took action.” Rules, VIII.B.1 (Ex. B at 11).

   23. The institution submits its appeal to a three-person Appeals Panel. Rules, VIII.D (Ex. B

at 13). In considering the institution’s Grounds for Appeal (which is the institution’s written

submission) and hearing arguments, the Appeals Panel may only consider the information that

was before ACCSC at the time of the initial withdrawal decision. Rules, VIII.B.4 (Ex. B at 11).

   24. But institutions have no way of knowing what information was actually before ACCSC

when it acted to withdraw accreditation, other than the specific correspondence and submissions

between the two parties. Moreover, the Rules do not provide any mechanism for institutions to

seek supplementation of the record to ensure that the Appeals Panel has all relevant and material

information before it when reviewing ACCSC’s initial decision.

   25. If the Appeals Panel affirms the initial decision, the institution’s only recourse is binding

arbitration, subject to ACCSC’s Instructions for Arbitration, which preclude the arbitrator from

considering any materials not included in the record before the Appeals Panel. Ex. C at 1

(“Instructions,” Section I.B.2). Moreover, the arbitrator’s review is further limited to

consideration only of whether, based solely on ACCSC’s curated record, the Appeals Panel’s

decision was supported by substantial evidence. Instructions, Section I.B.1 (Ex. C at 1). The

instructions also expressly prohibit any discovery that might allow affected institutions the

opportunity to identify material evidence withheld by ACCSC in the proceedings below.

Instructions, Section I.E (Ex. C at 3). Put another way, ACCSC has unfettered discretion to set

the record in however manner it sees fit, without any opportunity for subsequent review of that

decision.




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   26. The proceedings in the instant matter are instructive on that point. At the outset of the

arbitration proceedings, CEHE filed a Motion to Supplement the Arbitration Exhibits, seeking an

order from the arbitrator requiring ACCSC to produce documentation evidencing its treatment of

similarly situated institutions with similar compliance issues. However, the arbitrator confirmed

that he was “constrained by the [Instructions] to decline [CEHE’s] requests that the Commission

be ordered to produce documents that were not in the record before the Appeals Panel or that

discovery be permitted in arbitration.” Ex. D at 7-8 (Arbitrator’s Ruling Concerning Arbitration

Exhibits). Thus, ACCSC’s exclusion of material evidence has never received any meaningful

independent review.

           c. ACCSC arbitrarily and capriciously withdrew IU’s accreditation and
              withheld material evidence from consideration by the arbitrator.

                   i. ACCSC’s student achievement Standards.

   27. ACCSC’s purported basis for its withdrawal decision was that several online IU

programs reported graduation and employment rates that fell below ACCSC requirements.

However, communications between the parties leading up to the decision show that ACCSC

recognized that CEHE had already addressed those findings though an approved corrective

action plan. CEHE had demonstrated, through verifiable data, that IU’s then-currently enrolled

online students tracked to graduate and find employment at acceptable rates.

   28. The Standards require member institutions to demonstrate that their students graduate

and obtain in-field employment at acceptable rates set by the Commission, known as

“benchmark” rates. Standards, VII.B.1.b (Ex. B at 18-19). When a group of students start an

enrollment period for a given program, that group is known as a cohort. ACCSC requires

institutions to submit an annual report with graduation and employment rates for each cohort for

each program offered. Standards, Appendix VI (Ex. B at 21). If an institution fails to


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demonstrate that a cohort graduated and found employment at benchmark rates, then it will be

deemed out of compliance with student achievement Standards. Id.

   29. When a member school is found to be out of compliance with student achievement

Standards, ACCSC can initiate adverse action, which may include placing the school on warning

or probation status or withdrawing accreditation. Standards, VII.B.2.c (Ex. B at 20).

   30. ACCSC allows an institution a maximum of three years to remedy noncompliance with

any Standard, unless good cause exists to extend the time frame. Rules, Section VII.M.1 (Ex. B

at 9). The Rules state that a “school will be deemed to have demonstrated good cause if it has

shown . . . significant progress has been made toward achieving compliance . . . and when

extenuating circumstances exist such that only through the provision of additional time can the

school demonstrate compliance.” Rules, Section VII.M.2 (Ex. B at 9-10) (emphasis added).

ACCSC’s good cause standard is vital with respect to student achievement Standards because

new cohorts often do not become reportable for much longer than three years after enrollment.

   31. Here, both ACCSC and CEHE understood that it would take more than three years for IU

to meet benchmark rates in its annual reports. That is because IU offered primarily 20- to 36-

month degree programs. Ex. A at 14-15. A cohort does not become reportable until one-and-a-

half times the length of the program. Id. at 16-17. Thus, if a cohort started today, IU would not

know if that cohort graduated at benchmark rates for 30 to 54 months, depending on the

program. Id. For reference, most ACCSC member schools offer short-term, in-person degree

programs, which can be completed in a matter of months and are often reportable within a year.

IU’s programs were more substantial, consistent with traditional college programs.




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                   ii. CEHE proved that IU successfully resolved its student achievement issues.

    32. In September 2018, ACCSC concluded that IU was out of compliance with student

achievement Standards due to below-benchmark rates in various programs. The Commission

placed IU (and other commonly owned schools) on probation. By that time, IU had already

begun substantial efforts to identify the root causes of, and solutions for, its below-benchmark

rates.

    33. At that time, CEHE had decided to close all but one of its traditional ground-based

schools to focus its efforts on IU and its online programs. Due to the lack of in-person interaction

and social engagements, fully online programs tend to have significant difficulty retaining

students through the completion of their programs. Leading online universities often report

graduation rates that are substantially below ACCSC benchmarks. For example, Purdue

University Global’s eight-year graduation rate is 30%, Maryland Global Campus’s is 28%, and

Liberty University’s is 34%.2

    34. Nonetheless, CEHE and IU were committed to complying with student achievement

Standards, notwithstanding the extreme difficulties created by online delivery of education.

    35. CEHE devoted roughly $10 million to study and implement effective initiatives to

improve student outcomes. Over its roughly two-year probationary period, CEHE consistently

updated ACCSC about the status of those initiatives, and ACCSC consistently acknowledged

and commended those efforts. In a July 21, 2020 Continued Probation letter—the last review of

IU’s efforts before ACCSC abruptly withdrew accreditation—ACCSC recognized the breadth of



2
  Purdue University Global (https://collegescorecard.ed.gov/school/?489779-Purdue-University-
Global); Maryland Global Campus (https://collegescorecard.ed.gov/school/?163204-University-
of-Maryland-Global-Campus); Liberty University
(https://collegescorecard.ed.gov/school/?232557-Liberty-University).


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CEHE’s recently implemented initiatives to improve graduation rates and acknowledged that

IU’s distance education programs would not report benchmark graduation rates for several years.

Ex. E at 15 (Arb. Ex. 6, July 21, 2021 Continued Probation Letter).3 ACCSC found that, based

on IU’s demonstrated progress, good cause existed to continue IU’s accreditation until at least

May 2021. Id. at 31 (“In particular, the Commission recognized the length of time needed to

demonstrate the school’s ability to improve student achievement outcomes”). The Commission

was clear that progress would be measured based on the success of the recently enrolled cohorts,

who were the first to receive the benefits of IU’s new initiatives—students who would not

become reportable for 30 to 54 months. Id. at 15; Ex. F at 18-19 (Arb. Ex. 10, Oct. 28, 2019

Continued Probation Order) (confirming that IU’s compliance would be determined based on

“studies of academic progress, retention data and finally student graduation rates for the first

cohorts of students admitted under the new process and procedures”).

    36. In its subsequent December 20, 2020 response, CEHE provided updated projections for

IU’s recently enrolled cohorts, which showed that IU’s efforts had succeeded. Ex. G. (Excerpt

from Arb. Ex. 5, December 20, 2020 Probation Response). The recently enrolled cohorts for all

programs were on track to meet or exceed benchmark rates. Id. This was an outstanding

achievement for an institution that offered 100% online programs.

                  iii. Without explanation or justification, ACCSC reversed its position and
                       immediately withdrew IU’s accreditation.

    37. But at its February 2021 meeting, ACCSC prematurely withdrew IU’s accreditation—

even though it had given CEHE until May 2021 to demonstrate continued progress. Ex. H at 5-6


3
  Pursuant to ACCSC’s Instructions for Arbitration, the arbitrator was limited to consideration of
the record that was before the Arbitration Panel, which was referred to as “Arbitration Exhibits.”
Instructions for Arbitration, I.F. Where an exhibit cited in this Motion/Complaint was included
as an Arbitration Exhibit, CEHE has identified the exhibit number used in the arbitration
proceedings as Arb. Ex. [].

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(Arb. Ex. 4, Apr. 22, 2021 Withdrawal Order). Had ACCSC allowed CEHE until May 2021 to

show continued improvement (as previously promised), CEHE would have shown that most IU

programs would have met benchmarks ahead of the projections set forth in the December 20,

2020 Response. Ex. I at 12-13 (Excerpts from Arb. Ex. 3, May 27, 2021 Grounds for Appeal).

The precipitous withdrawal decision, which was published on April 22, 2021, was illogically

based entirely on older cohorts, which ACCSC always knew would not, and could not, graduate

at benchmark rates. That change in position blatantly contradicted ACCSC’s prior

acknowledgments that progress would be measured based on the most recently enrolled cohorts.

ACCSC’s premature decision prevented IU from further demonstrating progress as requested by

ACCSC.

   38. Given ACCSC’s prior acknowledgement of the time it would take for IU’s multi-year

programs to report above-benchmark rates, the withdrawal decision is capricious. IU

subsequently learned from limited, publicly available ACCSC accreditation decisions that other

schools were permitted to remain accredited even though they failed to meet student

achievement benchmarks in all of their programs. Moreover, those decisions noted the

institutions’ failures to demonstrate any ability to resolve the underlying issues. ACCSC’s

treatment of those schools stood in stark contrast to treatment of IU, which demonstrated that all

of its programs were projected to meet or exceed benchmarks.

   39. For example, on October 1, 2020, ACCSC placed Vista College on warning status

because “all of the school’s programs with reportable data” fell below ACCSC’s student

achievement benchmark rates. Ex. I at 27 (Excerpts from Arb. Ex. 3) (emphasis in original).

Prior to being placed on warning status, Vista had been on outcomes reporting for five years,

since May 2015. Describing the basis for moving the school to warning status, the Commission



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expressed concerns that the school’s program modifications submitted in March 2016 were

merely “a means to ‘reset’ the reporting of student achievement data.” Id. at 28. The

Commission also noted that the school’s “main plan” for resolving these issues appeared to be

the continuation of its prior efforts to “revise and re-launch programs,” which “did not appear to

resolve the school’s student achievement issues.” Id. Placing an institution on warning status,

while serious, falls well short of a full withdrawal of accreditation—an effective death sentence

for a college or university.

   40. Similarly, Takoda Institute remained accredited at the time of CEHE’s withdrawal even

though, as of July 2019, all of its programs failed to meet both graduation and employment

benchmarks. Id. at 34. Moreover, the school had reported below-benchmark graduation and/or

employment rates for all of its programs since 2014. Id. The Commission’s most recent

evaluation of the school as of CEHE’s withdrawal date noted that most of the programs were not

only failing to show improvement but were actually declining. Id. Nonetheless, Takoda remained

accredited because the Commission allowed it further time to develop student achievement

support strategies and to demonstrate the effectiveness of its strategies. Id. at 35.

   41. CEHE, on the other hand, demonstrated that its strategies were effective and that then-

currently enrolled students would graduate from programs that met or exceeded graduation and

employment benchmarks. Still, ACCSC withdrew IU’s accreditation. ACCSC’s actions did not

demonstrate fair and consistent application of the Standards.

   42. Moreover, Takoda offered diploma programs between only four and nine months in

length. Id. at 34. In those programs, successful initiatives should have materialized in above-

benchmark rates within two years—much sooner than for a school with significantly longer

degree programs such as those offered by IU. As discussed above, new cohorts in IU’s degree



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programs would not have been able to report for 30 to 54 months. The Commission’s

willingness to continue accrediting these short programs for years without any indication of

improvement stood in stark contrast to its decision to cut short IU’s demonstrated progress.

    43. Further underscoring ACCSC’s disparate treatment of CEHE, around the time of the

withdrawal, ACCSC announced that it would offer relief from strict enforcement of student

achievement Standards in the wake of the COVID-19 pandemic.4 ACCSC noted that its

Standards “contemplate [the] very notion” that COVID-19 is an “external or mitigating factor[]”

that would be taken into consideration in assessing an institution’s compliance with achievement

Standards. But where ACCSC offered relief to other institutions, it offered none to CEHE. In

fact, ACCSC abruptly cut short CEHE’s demonstrably successful efforts right in the middle of

the pandemic.

    44. The limited available evidence demonstrated that ACCSC held IU to a materially

different and unreasonably higher standard than other member institutions. And that evidence

likely represented just a small sampling of other schools that remained accredited

notwithstanding systemic achievement rate issues. CEHE found the above-discussed

accreditation decisions on ACCSC’s website, which only posts its most recent decisions. In its

20 years of accreditation with ACCSC, CEHE is unaware of any instance where ACCSC

withdrew accreditation from an institution that demonstrated all programs were on track to report

benchmark achievement rates.

    45. Indeed, the decision came as a shock to CEHE because its most recent reporting to

ACCSC demonstrated that the recent roll out of its student achievement solutions had proven to

be successful. In July 2020, ACCSC concluded that the new initiatives showed promise and


4
 The announcement can be found on ACCSC’s website at:
https://www.accsc.org/UploadedDocuments/1956/COVID-19-QandA.pdf (Pg. 20 of 22).

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asked to see continued evidence of improvement. Ex. E at 15, 31. CEHE did exactly that in

December 2020, but ACCSC nonetheless quickly acted to withdraw accreditation.

    46. The only thing that had changed in the interim was that on August 21, 2020, a Colorado

state court judge found that the use of Bureau of Labor Statistics (“BLS”) salary and job outlook

information advertisements for another of CEHE’s institutions, CollegeAmerica, violated state

consumer protection laws.5 That decision was reversed by the Colorado Court of Appeals on

August 26, 2021.

    47. But before the reversal, the Colorado decision was an embarrassment to ACCSC because

ACCSC had contemporaneously reviewed and approved the very same advertising practices at

issue in that case. In some instances, the Commission actually commended CEHE for the

practices found to be problematic by the Colorado court. But instead of publicly defending

CEHE’s advertising practices (which are prevalent among institutions of higher education across

the country) and criticizing the Court’s erroneous decision, ACCSC sought to bolster its own

image by appearing “tough” against CEHE.

    48. ACCSC’s perceived image problem was compounded because ACCSC’s application for

renewal of its federal recognition was set for consideration at the July 2021 meeting of the

National Advisory Committee on Institutional Quality and Integrity (“NACIQI”), which is the

Department body primarily responsible for advising the Secretary on matters concerning

accreditation. The impending NACIQI meeting was especially significant because the

Department was in the process of withdrawing its recognition of the Accreditation Council for

Independent Colleges and Schools (“ACICS”), based on its allegedly lax oversight over

proprietary institutions. See Statement from the U.S. Department of Education on the Status of


5
 That case, brought in the District Court for the City and County of Denver, was captioned State
of Colorado, et. al v. Center for Excellence in Higher Education, et al., Case No. 14CV34530.

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Recognition of Nine Accrediting Agencies and Withdrawal of Recognition of ACICS, available

at: https://www.ed.gov/news/press-releases/statement-us-department-education-status-

recognition-nine-accrediting-agencies-and-withdrawal-recognition-accrediting-council-

independent-colleges-and-schools.

   49. In a transparent attempt to deflect criticism in light of the upcoming NACIQI meeting,

ACCSC sent a letter to CEHE, dated October 26, 2020, claiming that the Colorado court’s

findings implicated failures to follow the Standards and unethical conduct. Ex. J (Arb. Ex. 8).

CEHE’s January 22, 2021 response addressed each of ACCSC’s concerns and included

documentation of each instance where it informed ACCSC of the advertising and recruitment

practices at issue and each instance where ACCSC accepted (and often commended) CEHE for

those same practices. See, generally, Ex. K (Excerpt from Arb. Ex. 7). Unable to use the

Colorado decision as a basis to withdraw IU’s accreditation, ACCSC apparently dropped the

matter.

   50. Against this backdrop, ACCSC’s disparate treatment of CEHE demonstrates that

ACCSC’s goal was defense and self-preservation at the expense of the due process and

fundamental fairness requirements to which CEHE is entitled.

                  iv. Dr. McComis deliberately shielded the Appeals Panel from evidence of
                      disparate treatment.

   51. Notwithstanding ACCSC’s evident disparate treatment, CEHE has never had the

opportunity to meaningfully investigate or present evidence to that point. Immediately following

the announcement of the withdrawal decision, CEHE notified ACCSC of its intent to appeal the

decision pursuant to section VIII.C.1 of the Rules. Ex B at 11. Shortly thereafter, CEHE sent an

April 30, 2021 letter to Dr. McComis, noting that the publicly available decisions indicated IU

was not treated fairly under the Standards. Ex. L. To ensure an opportunity to defend itself


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before the ACCSC appeals panel, CEHE requested records of ACCSC’s treatment of other

member institutions that failed to report benchmark rates. Id. CEHE also requested

communications and records related to decisions to grant leniency to any such institutions in

light of the COVID-19 pandemic. Id. Finally, IU sought records and communications pertaining

to decisions to grant leniency to institutions that failed to meet benchmarks while transitioning

from ground programs to online programs. Id. To alleviate any confidentiality concerns, CEHE

offered that all records could be redacted to protect the identity of the implicated institutions. Id.

   52. ACCSC’s Rules specify that the Appeals Panel must overturn any decision that is

arbitrary and capricious. Rules, VIII(B)(1) (Ex. B at 11). CEHE sought to prove that the

withdrawal decision was arbitrary and capricious because, among other things, ACCSC failed to

consistently apply its Standards in furtherance of its own wish to deflect scrutiny into its own

oversight capabilities. The requested records were essential for that purpose.

   53. But Dr. McComis made sure that no such evidence would get to the Appeals Panel. In his

May 7, 2021 response to CEHE’s letter, he summarily refused to produce any records of

disparate treatment. Ex. I at 24. Even though federal law plainly requires ACCSC to employ

effective controls against inconsistent application of the Standards (34 CFR 668.18(b)), Dr.

McComis conceded in his response that ACCSC did not take any such measures with respect to

CEHE. Shockingly, he explained that ACCSC treatment of other schools was not part of its

consideration in withdrawing IU’s accreditation. Ex. I at 24. That failure, in and of itself,

demonstrates that the Decision was arbitrary, capricious, and in substantial disregard of the

criteria for fair and impartial treatment and procedures of the Commission.

   54. Dr. McComis also claimed that such records were “maintained as confidential.” Ex. I at

24. But that is not true. All warning letters, probation orders, and withdrawal decisions are



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initially posted to ACCSC’s website (although only the most recent decisions are available for

review). They are also routinely circulated to numerous other state, federal, and accrediting

agencies. They are not confidential. And, as was made clear in its letter requesting the records,

the Commission was free to redact any identifying information from the decisions. Ex. L.

   55. Upon information and belief, Dr. McComis manipulated ACCSC’s rules and processes to

prevent CEHE from obtaining documents that would demonstrate ACCSC’s bad faith and

disparate treatment of CEHE. The decision to withhold this information continued a pattern of

misuse of and disregard for ACCSC’s rules to inflict harm on CEHE.

   56. Years earlier, ACCSC received a series of anonymous smears, denigrating CEHE and its

colleges. The smears were submitted to ACCSC in quick succession and bore similarities in

format, content, and in other manners, suggestive of common authorship. Rather than specific

allegations about actual events, practices, or people, these anonymous smears were filled with

insults such as “scummy,” “corrupt,” “rip-off.”

   57. Precisely to prevent such harassment and abuse of the accreditation process, ACCSC’s

Rules preclude consideration of anonymous complaints. The Rules state that complaints must

contain all relevant names, dates, and a release from the complainant, authorizing ACCSC to

forward the complaint to the school. Despite this, and the appearance of coordination, ACCSC

ordered CEHE to file oppressive responses, initiated its own investigation, and even sent the

anonymous smears to certain state attorneys general before CEHE had the opportunity to

respond. Ultimately, ACCSC closed each anonymous complaint without any findings or adverse

action, but not before forcing CEHE to produce numerous responses totaling thousands of pages

of supporting documents and narrative responses.




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                   v. Denied crucial evidence, the Appeals Panel and Arbitrator rubberstamped
                      ACCSC’s withdrawal decision.

   58. Because, by Dr. McComis’s own admission, consistent treatment of member institutions

is not a factor ACCSC considers when taking adverse accreditation actions (Ex. I at 24), the

appeals process is the only mechanism through which ACCSC has implemented any control

against inconsistent application of the Standards. However, Dr. McComis unilaterally blocked

the Appeals Panel from considering this evidence.

   59. In upholding ACCSC’s withdrawal decision, the Appeals Panel concluded that

accreditation decisions are made on a case-by-case basis, and ACCSC’s so-called “keen sense of

the consistency of its decision” was a sufficient control against disproportionate treatment. Ex. M

at 7 (Arb. Ex. 1, IU Appeal Decision Letter). Attributing to ACCSC a “keen sense,” without any

evidentiary support, does not pass muster under the substantial evidence or arbitrary and

capricious standards. W. Va. Coal Workers' Pneumoconiosis Fund v. Bell, 781 F. App'x 214, 228

(4th Cir. 2019) (finding that a decision is not based on substantial evidence, and is therefore

arbitrary and capricious, where “the record lacks such relevant evidence as a reasonable mind

might accept as adequate to support the agency’s conclusion.”) (internal quotations omitted).

   60. CEHE then initiated arbitration as required by the Instructions and ACCSC Bylaws,

Section I.A. Ex. C at 1. As contemplated by the Instructions, ACCSC designated the Arbitration

Exhibits, which consisted solely of the records before the Appeals Panel when it made its

decision, the hearing transcript from the hearing before the Appeals Panel, and the Appeals

Panel’s final decision. Pursuant to the Instructions, these were the only materials the arbitrator

was permitted to consider. Instructions, Section I.F. Ex. C at 3.

   61. But, as discussed above, CEHE disputed the completeness of the record, and filed a

Motion to Supplement the Arbitration Exhibits. See ¶ 26, supra. CEHE argued that, under


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federal law, it was entitled to seek review of the due process it received in the ACCSC

proceedings below. Ex. D at 2-3. Accordingly, CEHE sought an order from the arbitrator

requiring ACCSC to supplement the Arbitration Exhibits with the same documents requested

from Dr. McComis on April 30, 2022 so that CEHE could reasonably challenge whether ACCSC

fairly and consistently applied its Standards. Id. CEHE also sought limited discovery to

investigate ACCSC’s bad faith. Id. at 3.

   62. The arbitrator found that he was bound by the Instructions, which categorically precluded

any discovery or consideration of any information that was not before the Appeals Panel. Id. at

7-8. Because Dr. McComis denied the Appeals Panel the documents, the arbitrator found that he

could not consider them either. Id.

   63. Following a hearing, the arbitrator entered the Award in favor of ACCSC on August 4,

2022. Ex. A. With respect to CEHE’s contentions of disparate treatment and failure of due

process, the arbitrator concluded CEHE did not “sustain[] its burden of proving that the

experience of the Commission – or that of the duly constituted appeals panel – failed to provide

‘effective controls against the inconsistent application of the agency’s standards.’” Ex. A at 35.

That result was not surprising given ACCSC’s efforts to prevent the arbitrator from

consideration of any evidence to contradict that finding.

   64. The arbitrator also concluded that the Instructions and other federal case law precluded

him engaging in a disparate treatment analysis comparing CEHE’s withdrawal with decisions

concerning other schools. Ex. A at 34. But that eluded the relevant issue before him, which was

whether federal due process requirements and binding Department regulations required ACCSC

and the Appeals Panel to consider such evidence before taking the ultimate sanction of a full

withdrawal of accreditation. See 34 CFR 668.18(b).



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                               CEHE Seeks Vacatur of the Award

    65. Paragraphs 1-64 are incorporated by reference herein as if set forth in full.

    66. A court may vacate an arbitration award where the arbitrator refused to hear evidence

pertinent and material to the controversy or where the arbitrator exceeded its powers. 9 USC 10

(a)(3) and (a)(4).

    67. In this case, ACCSC’s disparate treatment of CEHE with respect to the withdrawal

decision was a central issue in the arbitration. But the arbitrator nonetheless refused to hear

pertinent and material evidence demonstrating that ACCSC’s decision to withdraw IU’s

accreditation was out of line with ACCSC’s decisions to take far lesser sanctions with respect to

similarly situated schools.

    68. Federal law requires ACCSC to treat all member schools consistently in applying the

Standards. 34 C.F.R. § 602.18(b); see also Med. Inst. of Minn. v. Nat'l Assoc. of Trade & Tech.

Sch., 817 F.2d 1310, 1314 (8th Cir. 1987) (stating that common law due process requires that

accreditors treat similarly situated schools similarly). And CEHE is entitled to meaningful

judicial review over ACCSC’s adherence to that requirement. Prof'l Massage, 781 F.3d at 169.

    69. The HEA required CEHE to initially submit to arbitration for review of the propriety of

ACCSC’s withdrawal decision. 20 USC 1099b(e). However, ACCSC’s binding Instructions for

Arbitration impermissibly precluded the arbitrator from considering any issue other than whether

the Appeals Panel’s decision was supported by the evidence in the record when the Appeals

Panel rendered its decision.

    70. Thus, CEHE was denied an opportunity to be heard on the issues of disparate treatment

and agency bad faith. CEHE presented compelling, but limited, evidence that other member

institutions were permitted to remain accredited notwithstanding similar, or worse, histories of



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noncompliance with student achievement Standards. While that limited evidence was apparently

insufficient to sustain a finding of improper disparate treatment, it was sufficient to require

ACCSC to produce evidence of its treatment of other institutions with below-benchmark student

achievement rates.

   71. Arbitrators must “give each of the parties to the dispute an adequate opportunity to

present its evidence and argument,” Tempo Shain Corp. v. Bertek, Inc., 120 F.3d 16, 20 (2nd Cir.

1997) (citations omitted). Arbitral misconduct has occurred, and vacatur is therefore warranted

under 9 USC 10(a)(3), where, as here, a party’s right to be heard has been “grossly and totally

blocked.” Buhannic v. TradingScreen, Inc., 2018 U.S. Dist. LEXIS 126477, at *14-15 (S.D.N.Y.

July 27, 2018) (citations omitted).

   72. CEHE was also denied an opportunity to investigate and present evidence of ACCSC’s

true motives for the withdrawal decision. Prior to the entry of the later-reversed Colorado state

court decision, ACCSC’s record statements indicated that it acknowledged and commended

CEHE’s efforts to return all IU programs to compliance with student achievement Standards.

But after the Colorado decision—which implicitly criticized ACCSC’s own oversight of CEHE’s

marketing and enrollment practices—ACCSC suddenly and without explanation withdrew

CEHE’s accreditation, even though CEHE’s most recent data demonstrated that current students

were progressing through their programs at benchmark rates. Against the backdrop of the

Department’s recent actions to revoke federal recognition from other accreditors, ACCSC’s

decision appeared to represent a pretextual attempt at self-preservation, rather than a fair

application of the Standards.

   73. Under such circumstances, limited discovery was necessary to investigate the

Commission’s true motives for withdrawing IU’s accreditation. See Sokaogon Chippewa Cmty.



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v. Babbitt, 961 F. Supp. 1276, 1283-84 (W.D. Wis. 1997) (finding that an agency’s sudden

change in position at the time it was facing political pressure was sufficient evidence of

impropriety to warrant discovery). However, the arbitrator determined that he was bound by the

Instructions, which categorically precluded any discovery into ACCSC’s motives.

                                     Other Causes of Action

                                 Count I - Violation of Due Process

   74. Paragraphs 1-73 are incorporated by reference herein as if set forth in full.

   75. Accreditors are required to afford due process to member institutions under federal

common law. Prof'l Massage., 781 F.3d at 170-71.

   76. Principles of administrative law inform the federal common law duty of due process. Id.

at 169.

   77. The amount and degree of due process required by an accreditor is determined by the

importance of the action being considered. An accreditor’s decision to withdraw accreditation

severs eligibility to participate in federal funding programs, which are the life blood of nearly

every American institution of higher education. Because a withdrawal decision is an institutional

death penalty, the “need for due process protection could not be stronger.”

Edward Waters Coll., Inc. v. S. Ass’n of Colls. & Sch., Inc., 2005 U.S. Dist. LEXIS 39443, at

*18 (M.D. Fla. Mar. 11, 2005).

   78. When ACCSC withdrew CEHE’s accreditation, due process required that CEHE be

afforded a meaningful opportunity to challenge whether the decision was made based on a good-

faith application of the Standards and was consistent with ACCSC’s treatment of similarly

situated schools.




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   79. ACCSC’s appeals procedures and Instructions for Arbitration do not afford sufficient due

process because they fail to provide an institution a reasonable opportunity to acquire and present

evidence of bad faith and disparate treatment.

   80. ACCSC’s decision to withdraw IU’s accreditation and the other acts described above

violated CEHE’s due process rights in at least the following ways:

           a. ACCSC’s initial withdrawal decision and subsequent Appeal Panel decision were

               arbitrary, capricious, and not supported by substantial evidence.

           b. ACCSC withdrew IU’s accreditation without providing a meaningful opportunity

               to be heard.

           c. ACCSC’s decision to withdraw IU’s accreditation was inconsistent with

               ACCSC’s treatment of other member institutions, who remained accredited

               notwithstanding similar or worse histories of noncompliance with student

               achievement Standards.

           d. ACCSC’s acted in bad faith by withdrawing IU’s accreditation as pretext to avoid

               federal scrutiny into its own oversight capabilities.

           e. ACCSC failed to follow federal requirements to maintain effective controls

               against the inconsistent application of the Standards.

           f. ACCSC appeals procedures and Instructions for Arbitration prevented CEHE

               from presenting material evidence of bad faith and inconsistent treatment.

           g. ACCSC failed to provide a reasoned explanation for its sudden revocation of its

               finding that CEHE demonstrated good cause to continue its efforts to return IU’s

               programs to compliance with student achievement Standards.




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   81. CEHE suffered damages, in an amount to be proved at trial, as a result of ACCSC’s

denial of due process, including lost profits, loss of business value, and loss of goodwill.

                                 Count II – Declaratory Judgment

   82. Paragraphs 1-81 are incorporated by reference herein as if set forth in full.

   83. An actual and justiciable controversy exists between the parties regarding ACCSC’s

failure to provide due process to CEHE.

   84. A judgment declaring that ACCSC’s acts violated CEHE’s due process rights will serve a

useful purpose in clarifying and settling the legal relations at issue and will afford relief from

uncertainty, insecurity, and controversy giving rise to the proceedings.

       Count III – Tortious Interference With Contract (Program Participation Agreement)

   85. Paragraphs 1-84 are incorporated by reference herein as if set forth in full.

   86. By granting accreditation to an educational institution, ACCSC enables that institution to

enter a contract with the Department of Education regarding the institution’s eligibility for

programs authorized by Title IV of the HEA (“Title IV programs”), known as a Program

Participation Agreement (“PPA”).

   87. The PPA sets forth the reciprocal rights and responsibilities of the institution and the

Department.

   88. ACCSC had actual knowledge that IU was eligible for Title IV programs, and,

consequently, knew of IU’s PPA with the Department.

   89. The vast majority of the students who were enrolled at IU relied on Title IV student

assistance funds to pay for their educations and living expenses.

   90. ACCSC knew that IU’s ability to participate in Title IV programs was contingent on its

continued accreditation.



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   91. In fact, the Department immediately cut off CEHE’s ability to access Title IV funds

following ACCSC’s initial April 22, 2021 withdrawal decision. Without access to critical Title

IV funding, CEHE was unable to continue to fund operations and was forced to close on August

1, 2021.

   92. By withdrawing IU’s accreditation, ACCSC intentionally and knowingly prevented

CEHE from performing under the PPA.

   93. ACCSC acted through improper means by, among other things:

           a. Withdrawing IU’s accreditation arbitrarily and capriciously, and without

              substantial evidence;

           b. Withdrawing IU’s accreditation without providing a meaningful opportunity to be

              heard.

           c. Treating CEHE disparately by, among other things, withdrawing IU’s

              accreditation while allowing other member institutions to remain accredited,

              notwithstanding similar or worse histories of noncompliance with student

              achievement Standards.

           d. Withdrawing IU’s accreditation in bad faith as pretext to avoid federal scrutiny

              into its own oversight capabilities.

           e. Failing to follow federal requirements to maintain effective controls against the

              inconsistent application of the Standards.

           f. Manipulating its appeals procedures and Instructions for Arbitration to

              deliberately and unlawfully block CEHE from presenting material evidence of

              bad faith and inconsistent treatment.




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           g. Arbitrarily and capriciously, and without substantial evidence, revoking its

               finding that CEHE demonstrated good cause to continue its efforts to return IU’s

               programs to compliance with student achievement Standards.

   94. As a direct and proximate cause of this intentional, willful, and tortious interference with

a contractual relationship of which ACCSC knew, CEHE has incurred damages, including,

among other things, a loss of students, a loss of Title IV funding, damage to its reputation, loss of

good will, loss of future profits, and a loss of business value in an amount to be proven at trial.

        Count IV – Tortious Interference With Contract (Student Enrollment Agreements)

   95. Paragraphs 1-94 are incorporated by reference herein as if set forth in full.

   96. By granting accreditation to an educational institution, ACCSC enables the institution to

enter into contracts with students, providing for their enrollment in accredited programs. Those

contracts are known as enrollment agreements.

   97. IU entered into an enrollment agreement with each of its students. The enrollment

agreement sets forth reciprocal rights and responsibilities of IU and each student, including the

student’s responsibility to pay tuition. Students entered into such enrollment agreements based in

large part on IU’s accreditation by a federally recognized accrediting agency, namely, ACCSC.

   98. ACCSC had actual knowledge of IU’s enrollment agreements with its students.

   99. ACCSC knew that IU’s ability to maintain its relationships with its students depended on

its ability to remain accredited.

   100. By unlawfully withdrawing IU’s accreditation, ACCSC knowingly and intentionally

interfered with IU’s contractual relationships with its students.




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   101. ACCSC acted through improper means by, among other things:

           a. Withdrawing IU’s accreditation arbitrarily and capriciously, and without

               substantial evidence;

           b. Withdrawing IU’s accreditation without providing a meaningful opportunity to be

               heard.

           c. Treating CEHE disparately by, among other things, withdrawing IU’s

               accreditation while allowing other member institutions to remain accredited,

               notwithstanding similar or worse histories of noncompliance with student

               achievement Standards.

           d. Withdrawing the IU’s accreditation in bad faith as pretext to avoid federal

               scrutiny into its own oversight capabilities.

           e. Failing to follow federal requirements to maintain effective controls against the

               inconsistent application of the Standards.

           f. Manipulating its appeals procedures and Instructions for Arbitration to

               deliberately and unlawfully block CEHE from presenting material evidence of

               bad faith and inconsistent treatment.

           g. Arbitrarily and capriciously, and without substantial evidence, revoking its

               finding that CEHE demonstrated good cause to continue its efforts to return IU’s

               programs to compliance with student achievement Standards.

   102. As a direct and proximate cause of this intentional, willful, and tortious interference

with contractual relationships of which ACCSC knew, CEHE has incurred damages, including,

among other things, a loss of students with their concomitant tuition payments, damage to its




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reputation, loss of good will, loss of future profits, and a loss of business value in an amount to

be proven at trial.

      Count V – Tortious Interference With Prospective Business or Economic Advantage

    103. Paragraphs 1-102 are incorporated by reference herein as if set forth in full.

    104. IU entered into enrollment agreements with its students, setting forth the reciprocal

rights and responsibilities of the parties, including the students’ responsibility to pay tuition.

    105. ACCSC knew that IU entered into such contracts with its students.

    106. ACCSC’s intentional and unlawful termination of IU’s accreditation without due

process has caused its students to withdraw. Absent ACCSC’s unlawful withdrawal decision,

IU’s students would have continued to perform under their enrollment contracts, including the

payment of tuition.

    107. ACCSC also knew that IU would have continued to attract new students, who would

also enter enrollment contracts with IU and pay tuition under those agreements. ACCSC’s

intentional and unlawful withdrawal of IU’s accreditation caused future students not to enroll.

    108. ACCSC acted through improper means by, among other things:

            a. Withdrawing IU’s accreditation arbitrarily and capriciously, and without

                substantial evidence;

            b. Withdrawing IU’s accreditation without providing a meaningful opportunity to be

                heard.

            c. Treating CEHE disparately by, among other things, withdrawing IU’s

                accreditation while allowing other member institutions to remain accredited,

                notwithstanding similar or worse histories of noncompliance with student

                achievement Standards.



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              d. Withdrawing IU’s accreditation in bad faith as pretext to avoid federal scrutiny

                 into its own oversight capabilities.

              e. Failing to follow federal requirements to maintain effective controls against the

                 inconsistent application of the Standards.

              f. Manipulating its appeals procedures and Instructions for Arbitration to

                 deliberately and unlawfully block CEHE from presenting material evidence of

                 bad faith and inconsistent treatment.

              g. Arbitrarily and capriciously, and without substantial evidence, revoking its

                 finding that CEHE demonstrated good cause to continue its efforts to return IU’s

                 programs to compliance with student achievement Standards.

    109. As a direct and proximate cause of this intentional, willful, and tortious interference

with contractual relationships of which ACCSC knew, CEHE has incurred damages, including,

among other things, a loss of students with their concomitant tuition payments, damage to its

reputation, loss of good will, loss of future profits, and a loss of business value in an amount to

be proven at trial.

                                          Prayer for Relief

WHEREFORE, Petitioner      CEHE respectfully requests that the Court:

        (A)       Vacate the Award pursuant to 9 USC 10(a)(3) and remand the matter to the

arbitrator for further proceedings;

        (B)      Declare that ACCSC’s initial decision to withdraw IU’s accreditation and the

Appeal Panel’s subsequent affirmance thereof was arbitrary and capricious and otherwise

violated due process;




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       (C)     Enter an injunction requiring ACCSC to rescind its withdrawal decision, to

provide notice to the Department of Education and all other parties ACCSC has informed

regarding the withdrawal decision, in all manners in which ACCSC provided notice of the

withdrawal of accreditation, including via publication on ACCSC’s website;

       (D)     Enter an injunction requiring ACCSC to adhere to due process in all future

accreditation proceedings with respect to CEHE or any of its institutions;

       (E)     Award CEHE damages, in an amount to be proven at trial, for ACCSC’s violation

of CEHE’s due process rights and tortious interference with CEHE’s contracts and prospective

business and economic advantages;

       (F)     Award pre- and post- judgement interest, attorney’s fees, and such other and

further relief as this Court may deem just and proper.

                                   Demand for Trial by Jury

       CEHE hereby demands a trial by jury on all issues so triable.


Date: October 28, 2022                       /s/ Steven M. Gombos
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